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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS

KATHERINE P.                                     §
                                                 §
      Plaintiff,                                 §
                                                 §
      v.                                         §            C.A. NO.: __________
                                                 §
                                                 §
HUMANA HEALTH PLAN OF TEXAS, INC.,               §
                                                 §
                                                 §
      Defendant.                                 §


                                 ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:



      KATHERINE P., Plaintiff, files this Original Complaint asserting causes of action

in law and equity for relief against Defendant, Humana Health Plan of Texas, Inc.

                                            I.

                                       PARTIES
1.    Plaintiff, Katherine P., is a resident in Austin, Texas. She brings this action under

      the pseudonym, “Katherine P.”, due to the highly sensitive nature of her mental
      illness and the extremely personal allegations disclosed in her treatment.

2.    Defendant, Humana Health Plan of Texas, Inc. (“Humana”), is an employee

      welfare benefits plan doing business in Texas. It may be served by process by

      serving its registered agent, Corporation Service Company, 211 E. 7th St., Suite
      620, Austin, TX 78701-3218, or wherever it may be found.

                                           II.

                           JURISDICTION AND VENUE




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3.   This action against Humana arises under the Employee Retirement Income

     Security Act of 1974 (“ERISA”), 29 U.S.C. §1001 et seq. This Court has

     jurisdiction over this action pursuant to 29 U.S.C. §1132(e)(1).

4.   Venue is proper in this District and Division pursuant to 29 U.S.C. §1132(e)(2)

     because Defendant maintains business activities in and may be found in this

     district.

5.   Pursuant to 29 U.S.C. §1132(h), this Complaint has been served upon the

     Secretary of Labor, Pension and Welfare Benefits Administration at 200

     Constitution Avenue N.W., Washington, D.C. 20210 and the Secretary of the

     Treasury at 111 Constitution Avenue N.W., Washington, D.C. 20024 by certified

     mail return receipt requested.

                                         III.

                             STATEMENT OF FACTS
6.   Katherine P. is currently 23 years old. At all times relevant in this matter, she was

     a covered beneficiary under the plan. The Plaintiff is identified by Policy Number

     712332 and Member Id. Number 013020308-05.

7.   On May 31, 2012, Plaintiff was admitted to partial hospitalization program level

     of care at Oliver Pyatt Centers (“Oliver Pyatt”) in Miami, Florida, with diagnoses

     of Eating Disorder Not Otherwise Specified, Bipolar Disorder with long periods of

     major depression, Attention Deficit Hyperactivity Disorder, Anxiety Disorder,

     Post Traumatic Stress Disorder (“PTSD”), acid reflux, blood in vomit, orthostatic,

     tachycardia, history of chest pains, dehydration and with a Global assessment of

     Functioning (“GAF”) of 35.

8.   Upon admission, Plaintiff reported restricting her intake to less than 600 calories

     a day, purging approximately twice a week, using laxatives 4 times a day, and

     excessively exercising. Her eating disorder and other related illnesses had

     become “unmanageable” and she was miserable and unable to engage in school

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      work, work, or effectively engage in other aspects of her life. Due to her illness,

      Plaintiff was forced to take a leave of absence from her studies at the University

      of Texas.

9.    Plaintiff also presented with an underdeveloped sense of self and with numerous

      trauma symptoms, including intrusive memories and flashbacks of past sexual

      abuse, avoidance, emotional numbing, and overwhelming shame and guilt

      around that history of sexual abuse.

10.   Humana certified Plaintiff’s partial hospitalization program level of care for only

      12 days, from May 31, 2012 through June 11, 2012, as medically necessary.

11.   At the time of this denial, Plaintiff had urges to purge her intake at meals and

      required constant supervision both during and after her meals to prevent her

      from purging in the bathroom. She had no support at home or from her parents.

      She was also suffering from dissociation stemming from her traumatic and

      abusive past and was just learning the skills to cope with the flashbacks and

      nightmares. Plaintiff’s blood glucose was dangerously low and her hypoglycemia

      was causing dizziness and headaches. Plaintiff was still experiencing urges to

      over-exercise.

12.   On June 11, 2012, Humana seemingly conducted a peer to peer review. According

      to its claim file and the “contact log” included, its reviewing doctor, Michael

      Neboisa Bojkovic, M.D., was required to make a “minimum of 3 attempts” to

      contact Plaintiff’s treating therapist. Log notes indicate that on June 11, 2012, Dr.

      Bojkovic attempted three calls to Plaintiff’s therapist, after hours, at 5:29:57 p.m.,

      6:19:29 p.m. and 6:27:33 p.m., leaving a message and requesting a return call. By

      6:48 p.m., Dr. Bojkovic noted, “despite attempts to reach the AP/Designee, no

      one called back”, wherein he upheld the denial of continued treatment at the

      partial hospitalization program level of care.

13.   Plaintiff remained in treatment until her discharge on August 28, 2012.

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14.   Plaintiff is obligated to pay all amounts due and owing to Oliver Pyatt.

15.   On April 5, 2013, Plaintiff submitted a timely appeal to Humana, requesting it

      overturn its denial and pay for her partial hospitalization program level of care

      from June 12, 2013 through discharge of August 28, 2013.

16.   On April 30, 2013, Humana denied Plaintiff’s appeal, indicating that it would not

      approve payment because “the member has no problems with their eating habits

      and had a stable mental status examination with a good support system”.

17.   With the denial of her appeal, Plaintiff exhausted all her administrative remedies

      with Humana and required under ERISA.

                                           IV.

                       CLAIM FOR DENIAL OF BENEFITS

18.   Humana wrongfully denied Plaintiff’s claims for medical benefits when Humana

      knew, or should have known, that Plaintiff was entitled to those benefits under

      the terms of the Plan.

19.   Humana failed to provide prompt and reasonable explanations of the bases relied

      on under the terms of the plan documents, in relation to the applicable facts and

      plan provisions, for the denial of Plaintiff’s claims for medical benefits.
20.   Humana failed to properly and adequately investigate the merits of Plaintiff’s

      medical claims and failed to provide her with a full and fair review pursuant to 29

      C.F.R.§2560.501-1 (h)(3)(iii) by failing to consult with health care professionals

      with appropriate training and experience in the field of medicine involved in the

      medical judgment.

21.   Instead, Humana’s medical reviewers failed to thoroughly and independently

      evaluate both Plaintiff and her medical records before issuing their denials of

      Plaintiff’s claim and her appeal, and failed to make reasonable efforts to contact



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      Plaintiff’s treating therapist or doctor in violation of both Humana’s policies and

      procedures and 29 C.F.R.§2560.501-1 (h)(1).

22.   Plaintiff believes that Humana wrongfully denied her claims for medical benefits

      by other acts or omissions of which she is presently unaware, but which may be

      discovered in this future litigation and which she will immediately make Humana

      aware of once said acts or omissions are discovered by her.

23.   As a proximate result of the denial of medical benefits due to Plaintiff, she has

      been damaged in the amount of all of the medical bills incurred, in a total sum to

      be proven at the time of trial.

24.   The wrongful conduct of Humana has created uncertainty where none should

      exist. Plaintiff is entitled to enforce her rights under the terms of the Plan and to

      clarify her right to future benefits under the terms of the Plan.


                                            V.

                         CLAIM FOR EQUITABLE RELIEF

25.   As a direct and proximate result of Humana’s failure to pay Plaintiff’s claim for

      medical benefits, and the resulting injuries and damages sustained by her as

      alleged herein, Plaintiff is entitled to and hereby requests that this Court grant

      her the following relief pursuant to 29 U.S.C. § 1132(a)(1)(B):

      (a)     Restitution of all past benefits due to her, and prejudgment and

              postjudgment interest at the lawful rate;

      (b)     A mandatory injunction requiring Humana to immediately qualify

              Plaintiff for medical benefits due and owing under the Plan;

      (c)     A determination that overturns Humana’s previous denial of benefits for

              dates of service June 12, 2013 through August 28, 2013;




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      (d)     Such other and further relief as the Court deems necessary and proper to

              protect Plaintiff’s interests as a participant under the Plan.

                                            VI.

               CLAIM FOR PENALTIES UNDER 29 U.S.C. §1132(c)

26.   Pursuant to 29 U.S.C. §1132(c) and the Plan, Plaintiff seeks an award of penalties

      of up to $110.00 per day for the fiduciary’s failure to supply her with requested

      documents. Specifically, on July 30, 2012, Plaintiff requested a complete copy of

      the claim file and plan documents, along with other relevant documents from

      Humana. Humana never responded to this request.

27.   On August 20, 2013, Plaintiff requested “all documents relevant to Katherine’s

      appeal including, ‘benefit provisions, guidelines, protocol or other similar

      criterion on which your decision was based,’” pursuant to 29 C.F.R. §2560.503-

      1(h)(2)(iii) and (3). In response, Humana provided Plaintiff with the medical

      coverage policy for ADHD. Omitted from the records were the Plan, guidelines

      and criteria related to Plaintiff’s diagnoses, Home Office communications related

      to its claims determination, statements of policy or guidance with respect to the

      Plan concerning the denied benefits, and, among other things, internal

      memoranda or other similar documents generated in the course of making its

      benefit determination.

28.   Humana’s failure to provide these documents subjects it to liability for statutory

      penalties of up to $110.00 per day in accordance with 29 U.S.C. §1132(c).

                                            VII.

                               STANDARD OF REVIEW

29.   Plaintiff is entitled to de novo review of all issues regarding the interpretation of

      the Plan and the policy. Plaintiff is also entitled to de novo review of Humana’s

      factual conclusions made in its wrongful denial of her claim.



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30.   Alternatively, if Humana has been afforded discretionary authority in the Plan or

      the policy, that discretionary authority is not allowed in insurance policies

      offered, issued, renewed, or delivered in Texas after February 1, 2011. 28 Tex.

      Admin. Code §3.1201(c). Any discretionary clause in the Humana insurance

      policy is invalid and Humana’s decision should be reviewed de novo.

                                             VIII.

                    CLAIM FOR ATTORNEYS FEES & COSTS

31.   Plaintiff seeks an award of her reasonable attorneys’ fees incurred and to be

      incurred in the prosecution of this claim for benefits. Plaintiff is entitled to

      recover those fees together with her costs of court pursuant to 29 U.S.C. §1132(g).

                                             VIII.

                                       PRAYER
32.   Katherine P. respectfully prays that upon trial of this matter or other final

      disposition, this Court find in her favor and against Defendant Humana and issue

      judgment against such defendant as follows:

      a.     That Humana pay to Plaintiff all benefits due and owing consistent with

             the terms of the Plan, as well as all interest due thereon and as allowed by

             law;

      b.     That Humana pay all reasonable attorneys’ fees incurred and to be

             incurred in obtaining the relief sought herein along with the costs

             associated with the prosecution of this matter;

      c.     That a mandatory injunction be issued requiring Humana to immediately

             qualify Plaintiff for medical benefits due and owing under the Plan; and,

      d.     For all other such relief, whether at law or in equity, to which Plaintiff may

             show herself justly entitled.




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                          Respectfully submitted,
                                                    Digitally signed by Amar Raval
                                                    DN: cn=Amar Raval, o=Plummer

                                 Amar Raval         & Kuykendall, ou,
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                          By: ____________________________
                                                    Date: 2014.02.05 13:41:29 -06'00'

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